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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 20-CR-20036-MARTINEZ

UNITED STATES OF AMERICA
vs.
NELKYS TABARES,

Defendant.

 

AGREED FACTUAL BASIS FOR GUILTY PLEA

Defendant Nelkys Tabares (the “Defendant” or “Tabares”) hereby acknowledges
and agrees that, if this case were to go to trial, the United States would establish and prove
the following facts beyond a reasonable doubt:

From in or around October 2013 through at least January 23, 2015, in Miami-Dade
County, in the Southern District of Florida, and elsewhere, Tabares did knowingly and
willfully combine, conspire, confederate, and agree with co-conspirators, in violation of
Title 18, United States Code, Section 1956(h), to commit money laundering, that is, to
conduct a financial transaction affecting interstate and foreign commerce, which financial
transaction involved the proceeds of specified unlawful activity, knowing that the property
involved in the financial transaction represented the proceeds of some form of unlawful
activity, and knowing that the transaction was designed, in whole or in part, to conceal and
disguise the nature, location, source, ownership, and control of the proceeds of the

specified unlawful activity, in violation of Title 18, United States Code, Section

c

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1956(a)(1)(B)(i). The specified unlawful activity was conspiracy to commit health care
fraud, in violation of Title 18, United States Code, Section 1349; health care fraud, in
violation of Title 18, United States Code, Section 1347; and wire fraud, in violation of Title
18, United States Code, Section 1343.

Golden Home Health Care, Inc. (“Golden”) and Homestead Home Health Care
LLC (“Homestead”) were Florida entities that did business as home health agencies in
Miami-Dade County, Florida. Golden and Homestead were engaged in health care fraud
by, among other things, paying kickbacks to patient recruiters and submitting false and
fraudulent claims to Medicare. Standing 24/7 Inc. was a shell company established by
Tabares at the direction of co-conspirator Juana Quintero. Standing 24/7 Inc. did not
provide any legitimate services to Golden or Homestead.

Tabares was never an employee of Golden or Homestead and never otherwise had
any legitimate affiliation with these entities. Nevertheless, between October 2013 and
January 23, 2015, Tabares received and cashed checks issued by Golden and Homestead
with an aggregate value of $169,462. Those checks were drawn on the bank accounts of
Golden and Homestead and represented the proceeds of health care fraud and wire fraud.
Tabares cashed the checks issued by Golden and Homestead and collected a fee of 10%
for doing so. Tabares then returned the remaining fraud proceeds in cash to her co-
conspirators for their own use and to further the fraud. Tabares knew and understood that
the checks she received and cashed represented the proceeds of some form of unlawful
activity carried out by her co-conspirators. Some of the checks Tabares cashed were

intentionally disguised in the memo lines with notations such as “Rendered Services,”
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despite the fact that neither Tabares nor her shell company ever provided any legitimate
services to the home health agencies.

In total, Tabares is responsible for laundering approximately $169,462 in fraud
proceeds. |

The preceding statement is a summary, made for the purpose of providing the Court
with a factual basis for my guilty plea to the charges against me. It does not include all of
the facts known to me concerning the criminal activity in which I and others were engaged.

I make this statement knowingly and voluntarily because I am in fact guilty of the crimes

 

 

 

 

 

 

charged.
Date: Ur 2O By:
Date: 5 l a! leo By:
COUNSEL FOR THE DEFENDANT
Date: _5, 21.20 By: / perp
ERVTHOR POGOZELSKI
TRIAL ATTORNEY

FRAUD SECTION, CRIMINAL DIVISION
U.S. DEPARTMENT OF JUSTICE
